Case 2:89-cr-20025-.]PI\/| Document33 Filed 06/22/05 Pagelof 12 Page| 1

Fl|.ED BY ,_, m D.C.
IN TI-IE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUN 22 pH |2; 09
WESTERN DIVISION

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W.D. OF TN, M'c;MPH|S

UNITED STATES OF AMERICA
Plaintiff,

VS CR. NO. 89-20025-Ml

JERRY BARNES

Defendant(s)

 

ORDER ON CHANGE OF RESTITUTION VICTIM

 

On September 22, 1989, the defendant in this case, Jerry Barnes, was
sentenced to a term of thirty (30) months incarceration as to Count l and
placed on three (3) years of Probation as to Counts 3, 5-11, 13-16 and
lB.

In the judgment, signed by United States District Judge Jerome
Turner on November 15, 1989, the defendant was ordered to pay restitution
to victims in the total amount of $16,950.00 (see Exhibit A).1 One of
those victims was Mitchell Lopp. The amount of ordered restitution to
be paid to Mr. Lopp was $750.00 (see Exhibit B).2

On January 18, 2005, a check in the amount of $560.00 was mailed to

Mitchell Lopp (see Exhibit C) as part of restitution.3 Mitchell Lopp is

 

1 Exhibit A: Copy of judgement in criminal case 2:89cr20025¢1.
2 Exhibit B: Print-oul: of payment history as to case 2:890r20025-1.
3 E:xhibit C: Copy of check #00176942 from U.S. Treasury dated 1/18/05.

Thls document entered on the docket sheet ln compliance
with Hu|e C.~= ami/or 32(b) FHCrP on

 

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now deceased (see exhibit D).4 Mitchell Lopp's wife, Mamie Lopp, is
requesting that payment of restitution be changed to reflect the
restitution amount being paid to her instead of her deceased spouse (see
exhibit E) .5 l

It is hereby ordered that the restitution victim in this case be
changed from Mitchell Lopp to Mamie Lopp, 343 Waterloo Road,
Lawrenceburg, TN 38464 and that the $750.00 in restitution be paid to her

instead of Mitchell Lopp.

IT IS SO ORDERED this the 221 day Of June, 2005.

~.\@W@OQ\

JON PHIPPS MCCALLA
UNI ED STATES DISTRICT JUDGE

 

 

4 Exhibit D: Copy of death certificate of Mithcell Lopp with attached letter from Mamie
Lopp.

5 Exhibit E: Letter from Mamie Lopp with certified copy of death certificate of Mitchell
Lopp.

 

 

 

 

 

 

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Case 2:8

 
  
 

      

UN|TED STATES OF AMEFl|C ‘

  

V. JUDGMENT!NACR|M|NAL CASE
Jerry Bames 7
se Number 89-20025-01-'1‘0
(Name and Address of Dete -' . ' Greg Keenum’ retained

 

Attorney for Defendant
THE DEFENDANT ENTERED A PLEA OF:

[I guilty EJ nolocontendere]astocount(s) l 3 5 6 7 8 9 10 ll 13 14 15 16 and 18
l:l not guiltyas tocount(s) '

 

, and

THERE WAS A:
c"' ‘ '.\3 en ergd en d __ l
~’~ fci imch on what died in °°HPllance with sale 55 and/e-
THEHE WAS A:
[l:] finding l:l verdict] of not guilty as to count(s)

l:l judgment of acquittal as to count(s)
The defendant is acquitted and discharged as to thislthese count(s).

 

 

THE oEFENoANT is coNvlcTEo oF THE oi=FENsE(s) oi=: unlawful use of mails in devisng

and intending to devise a scheme and artifice to defraud buyers and transferees of used motor vehicles;
in violation of Title 18, U.S.C. §§1341 and 2, as charged in cotmts l, 5, 7, 9, ll, 14 and 16 of the indictment,
and of making false statements by certifying false odometer readings; in violation of ‘I‘itle 15, U.S.C.
§§lQSB(b) and 1990(c) as charged in counts 3, 6, 8, 10, 13, 15 and 18 of the indictment

iT 13 THE JUDGMENT OF TH|S COURT THATI the defendant is sentenced to a period of thirty

(30) months imprisonment as to Ecount l. Imposition of sentence is hereby suspended as to cotmts 3,
5, 6, 7, 8, 9, 10, ll, 13, 14, 15, 16 and 18 and the defendant is placed on probation for a period of three
(3) years to run consecutive with the sentence imposed in count l including parole or supervised time.
'I'he defendant shall pay restitution in the amount of $16,950.00 and restitution is to be made to those
persons contained in exhibit #13 of the affidavit filed 9-22-89 thereon, and the amolmts reflected
in exhibit #13 with the exception of #2 - Joseph and Linda Barnum who shall be paid not more than
$2,000.UIL ’l‘he restitution shall be paid in no less than 3 equal annual installments during the period
of probation and the government shall see that the victims will be reimbursed proportionate to the
amount of their loss by virtue of installment payments. No interest is to accrue on the restitution.

* ’ll'le defendant has been granted leave to report to.the institution designated by the Bureau
of Prison as notified by the Clerk's Office.

|n addition to any conditions of probation imposed above, IT |S ORDERED that the conditions of proba-
tion set out on the reverse of this judgment are imposed Of‘{

 

 

 

 

ease 2:ee-cr-20025-JPl\/l QQWN§SCMQQQ%QS Page 4 Oi 12 PaQ€lD 4

Where probation has been ordered the defendant shall:

¢1) refrain from violation of any law (federa|. state. and local
questioned by a law-enforcement officer;

(2) associate only with law~abiding persons and maintain reasonable hours;

(3) work regularly at a lawful occupation and support your legal dependents if any,
your probation officer at once. and consult him prior to job ch anges);

(4) not leave the judicial district without permission of the probation officer;

(5) notify your probation officer immediately of any changes in your place of residence;

t6) follow the probation officer's inst ructlons;and report as directed

The court may change the conditions of`probetion. reduce or extend the period of probali-on, and at an

or within the maximum probation period of 5 years permitted by law. may issue a warrant and revoke
during the probation period.

l and get in touch immediately with your probation officer if arrested or

to the best of your ability. (When out ol work notify

y time during the probation period
probation for a violation occurring

IT IS FUFlTHER OFlDERED that the defendant shall pay a total special assessment of $ 700.00
pursuant to Title 18, u.s.c. section 3013 rorcoum(s) 3, 5, 6, 7. 8, 9, 10, ll, 13,14, 15, 16 and 18

 

 

 

 

as follows:
$50.00 as to each of the above counts to be paid immediately.
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on the motion of the United States.

|T |S FUFlTHEFl OFlDEFlED that the defendant shall
imposed as a fine, restitution or special assess
amount imposed as a cost of prosecution. Until

paid, the defendant shall immediately notify the
and address.

pay to the United States attorney for this district any amount
ment. The defendant shall pay to the clerk of the court any
all fines, restitution, special assessments and costs are fully
United States attorney for this district of any change in name

|T |S FURTHER ORDERED that the clerk of the court d

silver a certified copy of this judgment to the United
States marshal of this district. '

ill The Court orders commitment to the custody of the Attorney G

. l and recommends:

September 22, 1989 A/

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J me 'l'urner, U.S. District Judgg
Name and Title of Judicial Officer

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Date

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Delendant delivered on to

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Date

 

_ . the institution designated by the Attorney
Genera|, with a certified copy of this Judgment in a Criminal Case.

 

Unlted States Marshal
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Deputy Marsha|

Case 2:89-cr-20025-.]PI\/| Document 33 Filed 06/22/05 Page 5 of 12 Page|D 5

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CATO, JAMES AND MARY($1450.00):VieW payments
HARRISON, EDDIE ($1450 00): View payments

HUCKABY, BOYD ($700.00 on hold): View payments
LEATH, BETTY J ($950. 00): View payments

LEVAN WILLIAM AND ANN ($1900. 00): View payments
LOPP, MITCHEL ($750. 00 on hold): Vjew payments

MARTIN, THOMAS ($1450. 00): Vtew payments

MAYFIELD SHIRLEY ($950. 00): View payments

QUILLEN, AUSTIN AND PAULA ($1000.00): View payments
TIPLER, DONNIE ($1700. 00 on hold): View payments
WOODS, EARNEST ($1250 00): View payments

  
 

 
  

Mark as reviewed

  

Reviewer: _Q§_r_i§_

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_ Add or change comment

   

 

 

Comment changed by: `

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' t Case 2:89-cr-20025-.]PI\/| Document 33 Filed 06/22/05 Page 6 of 12 Page|D 6
victim name= LoPP, MITCHEL

Victim address: ROUTE 4, BOX 392
LAWRENCEBURG, TN 38464

Case number: 2:89€:20025-1
Debtor name: JERRY BARNES
Total owed: ?50.00
Voucher Number Date Amount Paid
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sf1098,7650700194_1 2005-04-12 -500.00

Total: 0.00

Case 2:89-cr-20025-.]PI\/| Document 33 Filed 06/22/05 Page 7 of 12 Page|D 7

     
    
  
  

   

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Case 2:89-cr-20025-.]PI\/| Document 33 Filed 06/22/05 Page 9 of 12 Page|D 9

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Case 2:89-cr-20025-.]PI\/| Document 33 Filed 06/22/05 Page 10 0f1 _ _

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John A. Maloof, III 1222 Tx:otwood Ave. , Suite 207 ,Columbia, TN 38401
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UNITED `sETAT DISTRICT COURT - WE"TEN D"STRCT oFTi\INEEssEE

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Honorable J on McCalla
US DISTRICT COURT

